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                                                                         U.S. District Court
                                                                  Northern District of Texas (Dallas)
                                                            CIVIL DOCKET FOR CASE #: 3:19-mc-00018-B


  In Re: Jason Lee Van Dyke                                                                     Date Filed: 03/11/2019
  Assigned to: Judge Jane J Boyle                                                               Date Terminated: 06/11/2020
  Cause: No cause code entered
  In Re
  Jason Lee Van Dyke                                                              represented by Jason Lee Van Dyke
                                                                                                 The Van Dyke Law Firm PLLC
                                                                                                 108 Durango Drive
                                                                                                 Crossroads, TX 76227
                                                                                                 469-687-9526
                                                                                                 Email: jasonleevandyke@protonmail.com
                                                                                                 PRO SE

                                                                                                 Jason Lee Van Dyke
                                                                                                 Magana & Van Dyke PLLC
                                                                                                 1417 E McKinney Street
                                                                                                 Suite 110
                                                                                                 Denton, TX 76210
                                                                                                 940-382-1976
                                                                                                 Email: jason@maganavandyke.com
                                                                                                 LEAD ATTORNEY
                                                                                                 ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/11/2019             1 Order Re: Attorney Disciplinary Action as to Jason Lee Van Dyke. Standing Order to show cause why this court should not
                            impose reciprocal discipline. (Mr. Van Dyke received an Agreed Judgment of Partially Probated Suspension from the State Bar
                            of Texas. Active suspension period: 03/01/19- 5/31/19). Cases Report for Internal Users accessible here. Show Cause Response
                            due by 4/1/2019. (Ordered by Judge Jane J. Boyle on 3/11/2019) (Attachments: # 1 Public Judgment Alert and Judgment from
                            the State Bar of Texas) (ali) (Entered: 03/11/2019)


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6/18/24, 5:03 PM                          Case: 1:24-cv-00642-BMB Doc #: 18-10 District
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   03/18/2019             2 RESPONSE TO SHOW CAUSE ORDER 1 filed by Jason Lee Van Dyke. Unless exempted, attorneys who are not admitted to
                            practice in the Northern District of Texas must seek admission promptly. Forms and Instructions found at
                            www.txnd.uscourts.gov, or by clicking here: Attorney Information - Bar Membership. If admission requirements are not
                            satisfied within 21 days, the clerk will notify the presiding judge. (Attachments: # 1 Exhibit(s) Retzlaff Grievance, # 2
                            Exhibit(s) Retzlaff Letter to KLR, # 3 Exhibit(s) Retzlaff Harassment of KLR, # 4 Exhibit(s) Pedophile Allegation, # 5
                            Exhibit(s) Harassment of Family, # 6 Exhibit(s) 2d Amended Petition, # 7 Exhibit(s) Answers to Interrogatories, # 8 Exhibit(s)
                            Retzlaff Criminal History, # 9 Exhibit(s) Retzlaff Termination, # 10 Exhibit(s) Retzlaff Kid Affidavits, # 11 Exhibit(s) Retzlaff
                            Email)Attorney Jason Lee Van Dyke added to party Jason Lee Van Dyke(pty:inre) (Van Dyke, Jason) Modified text to match
                            document on 3/18/2019 (dsr). (Entered: 03/18/2019)
   03/21/2019             3 Order: Counsels response 2 fails to address the local provisions for reciprocal discipline. Accordingly, counsel shall file a
                            supplemental response to the courts show cause order 1 on or before March 28, 2019. The supplemental response shall state
                            why this court should not impose a reciprocal sanction under Rule 57.8(a) and (h). (Ordered by Judge Jane J. Boyle on
                            3/21/2019) (ali) (Entered: 03/21/2019)
   03/21/2019             4 Supplemental Response by Jason Lee Van Dyke as to 2 Answer to Complaint. (Van Dyke, Jason) Modified title on 3/22/2019
                            (mla). (Entered: 03/21/2019)
   04/01/2019             5 ORDER: This case is STAYED until further order of the court. (Ordered by Judge Jane J. Boyle on 4/1/2019) (aaa) (Entered:
                            04/01/2019)
   06/09/2020             6 Order Re: Attorney Disciplinary Action as to Jason Lee Van Dyke. Standing Order to show cause why this court should not
                            impose reciprocal discipline. (Mr. Van Dyke agreed to a Judgment of Partially Probated Suspension from the State Bar of Texas.
                            Active suspension period: 05/01/20-10/31/20). Cases Report for Internal Users accessible here. Attorney Response due in 14
                            days. (Ordered by Judge Jane J. Boyle on 6/9/2020) (Attachments: # 1 Agreed Judgment of Partially Probated Suspension) (ali)
                            (Additional attachment(s) added on 6/19/2020: # 2 Attorney self reported this suspension - Letter from attorney is attached)
                            (ali). (Entered: 06/09/2020)
   06/10/2020             7 RESPONSE filed by Jason Lee Van Dyke re: 6 Attorney Disciplinary Order,, (Attachments: # 1 Exhibit(s) Ex. 1) (Van Dyke,
                            Jason) (Entered: 06/10/2020)
   06/11/2020             8 ELECTRONIC ORDER Re: Attorney Disciplinary Action as to Jason Van Dyke. The stay imposed in Order # 5 is lifted. Jason
                            Lee Van Dyke does not oppose reciprocal discipline. The clerk shall impose reciprocal discipline, and Mr. Van Dyke is
                            suspended from practicing in the Northern District of Texas from 5/1/2020 to 10/31/2021 according to the terms of the Agreed
                            Judgment of Partially Probated Suspension (See Order #6-1 for details). If the attorney has an active ECF account, it will be
                            terminated as of this date. Cases Report for Internal Users accessible here. (Ordered by Judge Jane J. Boyle on 6/11/2020) (ali)
                            (Entered: 06/11/2020)
   11/23/2020             9 MOTION to Reinstate filed by Jason Lee Van Dyke (Attachments: # 1 Proposed Order) (ali) (Entered: 11/23/2020)
   12/04/2020           10 Electronic ORDER granting 9 Motion for reinstatement: The Court finds that Mr. Van Dyke has been reinstated as an attorney
                           licensed to practice law in the State of Texas and that he is a member in good standing of the State Bar of Texas. The Court also
                           finds that, except for out-of-state reciprocal discipline relating or pertaining to the same matter for which Respondent was

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                              suspended by this Court, there are no disciplinary actions pending against Mr. Van Dyke. The clerk is directed to reinstate Mr.
                              Jason Lee Van Dyke as a member of the bar of this Court and restore his ECF filing privileges. (Ordered by Judge Jane J. Boyle
                              on 12/4/2020) (lrl) (Entered: 12/04/2020)
   05/01/2023           11 Correspondence received from Jason Lee Van Dyke regarding discipline imposed by the Georgia Supreme Court (Disciplinary
                           period has already passed.) (rekc) (Entered: 05/01/2023)



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                                                             PACER Login: vandyke1856        Client Code:
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